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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

  IN RE: 3M COMBAT ARMS                     Case No. 3:19md2885
  EARPLUG PRODUCTS
  LIABILITY LITIGATION

  This Document Relates to                  Judge M. Casey Rodgers
  All Cases                                 Magistrate Judge Hope T. Cannon


 ORDER AUTHORIZING PRODUCTION OF CERTAIN SETTLEMENT
 DATA IN DEFENDANTS’ INSURANCE ARBITRATION SUBJECT TO
              EXISTING PROTECTIVE ORDERS

      Defendants 3M Company, Aearo Technologies LLC, Aearo Holding LLC,

Aearo Intermediate LLC, and Aearo LLC (collectively “3M/Aearo”) have submitted

a motion requesting the Court authorize the Settlement Administrator to disclose

settlement administration information, including Claimant payment amounts and

settlement allocation methodologies, to 3M/Aearo for use in their ongoing

arbitration proceeding against one of their insurers, AIG Europe Limited (“AIG”).

Following oral argument before the Court on January 9, 2025, for the reasons that

follow, 3M/Aearo’s motion is GRANTED IN PART and DENIED IN PART.

      3M/Aearo are claimants in an arbitration proceeding against AIG concerning

insurance coverage for the settlement reached in the Combat Arms Earplug

Litigation.   In that arbitration, AIG has requested documents and information

regarding the amounts paid to Claimants under the global Combat Arms settlement,
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as well as information about the methodology by which Claimants are paid

(“Settlement Data”).

      The Settlement Data requested by AIG in the arbitration is under the sole

purview of the Settlement Administrator appointed by the Court, BrownGreer PLC.

3M/Aearo do not currently possess that data.

      The Court’s August 15, 2024 Order Authorizing the Release of Plaintiffs’

Protected Material in Arbitration Against AIG Europe Limited (ECF No. 4088)

previously authorized 3M/Aearo to produce Plaintiffs’ Protected Material to AIG for

use in the arbitration, including documents produced by Plaintiffs in this action that

were designated “Confidential” or “Highly Confidential” and so are protected from

public disclosure. In its August 15 Order, the Court determined that the following

four safeguards it previously identified were satisfied with respect to the protective

order in place in the arbitration (the “Arbitration Protective Order”):

             (1) the production is subject to Protective Orders and/or
             Confidentiality Agreements in place that offer protections
             commensurate with the protections afforded such
             Protected Material under the Orders governing
             confidentiality in this matter; (2) the Protected Material is
             used solely in connection with resolving Defendants’
             rights to insurance recovery for the Combat Arms Earplug
             Litigation; (3) access to the Protected Material is
             appropriately limited to those parties in the resolution of
             Defendants’ coverage claims to whom disclosure is
             reasonably necessary; and (4) the Court retains jurisdiction
             to enforce its Orders governing confidentiality in this
             matter, including with respect to any party or non-party’s



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             unauthorized disclosure of records originally produced by
             federal government agencies under order of the Court.

      The Arbitration Protective Order, which was attached in full to the Court’s

August 15 Order, “limits access to Confidential Information in a manner that is

similar in scope to the access limitations set forth in this Court’s Pretrial Order No.

9” (ECF No. 4088 at 4). The Settlement Data requested by AIG, like the Plaintiffs’

Protected Material at issue in the Court’s August 15 Order, falls within the

Arbitration Protective Order’s definition of Confidential Information and would be

designated as such. As the Court previously determined, consistent with the Court’s

Pretrial Order No. 9, the Arbitration Protective Order allows 3M/Aearo and AIG to

disclose Confidential Information only to “outside counsel, professional vendors,

mediators, court personnel, party employees, experts, consultants, and witnesses

only as necessary, and with the requirement that those third parties maintain the

confidentiality of such information consistent with the terms of the Arbitration

Protective Order” (ECF No. 4088 at 4). In addition, the Arbitration Protective Order

appropriately limits 3M/Aearo to using Confidential Information only for the

purposes of resolving 3M/Aearo’s coverage claims at issue in the arbitration, and

requires the parties to “use reasonable efforts to destroy all copies of any

Confidential Information within sixty calendar days” of the final disposition of the

arbitration. Arbitration Protective Order §§ I.1, XI.31. Accordingly, the Court

authorizes the Settlement Administrator and the Settlement Allocation Master to

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produce the following documents and information to 3M/Aearo, and authorizes

3M/Aearo to produce this information to AIG in the arbitration, subject to the

protections described above and below and in the Court’s Pretrial Order No. 9, the

Arbitration Protective Order, and the Court’s August 15, 2024 Order:

         1. A summary chart in searchable, filterable Excel format reflecting the

            amount of gross compensation assigned to each Participating Claimant,

            including Verdict and Wave Case Claimants, to date, omitting names of

            Claimants and any other personal identifying information whatsoever,

            using only the CID Number to identify each individual Claimant.

         2. The number of Expedited Payment Program (“EPP”) Claimants falling

            within each EPP Level.

         3. The number of Claimants participating in the Deferred Payment

            Program (“DPP”).

         4. Information sufficient to demonstrate the Wave Case Point Dollar Value

            and the number of points assigned to each Wave Case Claimant,

            omitting names of Claimants and any other personal identifying

            information whatsoever, using only the CID Number to identify each

            individual Claimant.




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         5. The following categories from Section 1 (Participating Claimants) in

            the Participating and Non-Participating Claimants Report as of October

            25, 2024: “Claimant ID”; “Settlement Group”; “Election”; and “Court.”

      With respect to the Settlement Information identified above, any such

documents that identify settlement awards and points values assigned to individual

Claimants (who shall not be identified by name) shall be disclosed only to those

individual counsel (as defined in Paragraph IV.9.b of the Arbitration Protective

Order) and individual expert witnesses (as defined in Paragraph IV.9.c of the

Arbitration Protective Order) who have a need to review such information and who

have signed Exhibit A (Acknowledgment and Agreement to Be Bound) to the

Arbitration Protective Order. Any expert reports, summaries, or analyses prepared

based on that data and disclosed to other parties as permitted by the Arbitration

Protective Order shall not disclose the amount paid to any individual Claimant and

shall remain Confidential Information.

      Any costs incurred by the Settlement Administrator or any other party to

provide such information shall be divided equally between 3M/Aearo and AIG.

      With respect to the requests for the “number of DPP claimants who have

received points assignments” and the “points value assigned to each DPP claimant

or the number of DPP claimants falling into each points value category (if such




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categories exist),” the motion is denied because no DPP Claimants have been

assigned points values.

      With respect to the request for “[i]nformation sufficient to demonstrate the

methodology by which a participating plaintiff’s eligibility and ultimate

compensation is determined at each level of the Combat Arms Settlement, including

the EPP, the DPP, the Wave Case Plaintiff program, and the EIF,” the Court denies

the motion because there has not been a sufficient showing that such information is

relevant and necessary to any issue in the Arbitration.     If AIG contends that

information is relevant or necessary, AIG must appear in this Court and submit

briefing and argument to this Court.

      SO ORDERED, on this 10th day of January, 2025.

                                       M. Casey Rodgers
                                       M. CASEY RODGERS
                                       UNITED STATES DISTRICT JUDGE




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